
ORDER
| j Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, the response thereto filed by respondent, and the report and recommendation of the hearing committee,
IT IS ORDERED that respondent, John E. Settle, Jr., Louisiana Bar Roll number 11950, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
FOR THE COURT:
/s/ MARCUS CLARK JUSTICE, SUPREME COURT OF LOUISIANA '
Crichton, J., recused.
